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          EXHIBIT 2
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March 24, 2014

Conceptuall Executive
C           E     i Incentive
                      I   i
   g
Program Designg
for




      These materials are confidential and to be used only by the client to whom they are addressed
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Fibra Uno has engaged Farient Advisors (Farient) to assist
with the design of short‐term (i.e., annual) and long‐term
incentives for its executives
 Fibra Uno is a high growth Mexican FIBRA (with similarities to a U.S. REIT) traded on
  the Mexican stock exchange

 Farient is a U.S. executive compensation consulting firm

 Fibra Uno specifically engaged a U.S. executive compensation consulting firm because:
  - A significant portion of Fibra Uno’s
                                   Uno s shareholders are U
                                                          U.S.
                                                            S institutional investors
  - These investors would like to see an executive incentive program with typical U.S.
    style features




                                                                                          2
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Farient is a fast‐paced growth organization built
specifically to meet today’s pressing executive
compensation
           ti marketk t needs
                           d
         Founded in 2007
         20+ staff members
         Clients and experience across a wide variety of
          industries and growth/ maturity stages
         Outstanding
          O t t di relationships
                          l ti hi
         Heavy experience in transactional situations (M&A,
          IPO, spin‐offs, other)
         Prominent voice in Director forums
         Serving clients through our NY and LA offices and our
          London partner, Kepler Associates
         Independent


         Driving convergence on pay and performance
          alignment through proprietary data, software,
          methodologies, and research
         Subscription services and research to both investors
          and corporations
         Strategic partnership with ISS for research
          distribution
         www.farient.com

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Overview of topics
              p covered:
 Overall incentive design approach and process

 Short‐term incentive (STI) design structures

 Long‐term
     g      incentive ((LTI)/equity
                           )/ q y design
                                      g structure

 Incentive design features
  - Performance
    P f         measures
  - Measurement level
  - Payout
    P    t lleverage

 Goal setting process

 Employee equity plan share requirements




                                                                                 4
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 Executive compensation incentive program design starts with
           p
 several important guiding
                   g     g principles
                           p     p

 Alignment of management with shareholders

 The definition of success

 Company’s desire to link pay with performance

 Balancing attraction and retention of talent

 Balancing compensation cost with perceived value to employees




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     Executive compensation, if done right, is a strategic activity

Context and Priorities                             Total Compensation Strategy

Business Strategy and                      Fundamental                             Pay Components
 Industry Economics                          Questions
Competitive landscape              What do we pay for?                       Base salary
Drivers of shareholder              – Performance measures
                                                                                       Farient Focus
 value                               – Goals
Sources of competitive              – Linkage                                 Short‐term incentives
 advantage                          How much do we pay?                       Long‐term incentives/
                                     – Peer Group                               equity
    Organizational                   – Positioning                             Benefits/perquisites
    Effectiveness                   How do we pay?                            Other
Leadership                          – Differentiation
                                       Diff     ti ti                           – Contractual
                                                                                  C t t l
Change management                   – Vehicles                                   arrangements
Capabilities                        – Risk vs. reward                          – Stock ownership
Values                              – Time horizon

                                                                                                        6
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        Effective compensation strategies are typically developed
        with significant client involvement
                   Approach and Process to Develop Fibra Uno Incentive Design

                                                Competitive
         Organization                                                                  Recommended
                                              Incentive Design
         Fact‐Finding                                                                 Incentive Design
                                                Assessment

 Executive and Board               Peer group selection criteria          Incentive design development
  member interviews                 Peer group determination                -STI alternative structures
 -Understand business               Competitive assessment off                  /
                                                                             -LTI/equity alternative
                                                                                          l          structures
  strategy and objectives            executive incentive design               (vehicle mix, performance periods)
 -Understand desired pay             programs                                -Potential performance measures
  philosophy                        Fit with Fibra Uno business             -Measurement level
 Relevant document review           strategy and objectives
  (e.g., financial,                                                          -Payout leverage
  compensation)                                                             Executive management review
 Understanding of regulatory                                               Recommended STI and LTI design
  limitations (e.g., accounting,                                            Executive management and Board
  tax implications for type of                                               member final review
  LTI vehicles)

                                                                                                                   7
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      Screening criteria for selecting peer group companies
      includes:

 U.S. publicly traded REITS                                                      Illustrative Example of REIT Peer Group
                                                                                                                Primary         Revenue     Market Cap as of
 Retail REITS, Office REITS, Diversified                                         Company Name                 Industry          ($MM)        2/28/2014
                                                                      General Growth Properties, Inc        Retail REITs        $2,641         $19,456
  REITs, and other classes of REITs, if                               Boston Properties Inc.                Office REITs        $2,211         $17,202
  appropriate                                                         Digital
                                                                        g      Realtyy Trust Inc.           Office REITs        $1,492
                                                                                                                                $   ,          $6,957
                                                                                                                                               $  ,
                                                                      SL Green Realty Corp.                 Office REITs        $1,479         $9,441
                                                                      The Macerich Company                  Retail REITs        $1,188         $8,451
 Revenue parameters (e.g., $100                                      CBL & Associates Properties Inc.      Retail REITs        $1,065         $3,025
                                                                      Kimco Realty Corporation              Retail REITs          $951         $9,122
  million to $2.5 billion), with market                               Realty Income Corporation             Retail REITs          $778         $9 221
                                                                                                                                               $9,221
  cap also taken into account                                         Taubman Centers, Inc.                 Retail REITs          $767         $4,447
                                                                      Mack‐Cali Realty Corp.                Office REITs          $709         $1,959
    - Peer group will be used to assess                               Alexandria Real Estate Equities, Inc. Office REITs          $631         $5,156
      typical
       yp     incentive design
                            g structures                              Brandywine Realty Trust               Office REITs          $561         $2,296
                                                                      Weingarten Realty Investors           Retail REITs          $532         $3,719
    - Size is therefore not as critical as                            Columbia Property Trust, Inc.         Office REITs          $527         $3,314
                                                                      Corporate Office Properties Trust     Office REITs          $525         $2,330
      for determining pay levels(1)                                   Regency Centers Corporation           Retail REITs          $521         $4,688
                                                                      Kilroyy Realtyy Corp.
                                                                                          p                 Office REITs          $460
                                                                                                                                  $            $4,723
                                                                                                                                               $  ,
 “Best in class” REITs (established,                                 Equity One Inc.
                                                                      Rouse Properties, Inc.
                                                                                                            Retail REITs
                                                                                                            Retail REITs
                                                                                                                                  $334
                                                                                                                                  $234
                                                                                                                                               $2,729
                                                                                                                                               $1,080
  mature, high‐performing, etc.)                                      Inland Real Estate Corp.              Retail REITs          $183         $1,068




(1) Executive pay levels are correlated with company size (e.g., revenue); therefore, peer groups for setting pay levels have companies that are
    optimally 0.5x to 2x the company; a peer group for pay program incentive design need not adhere to these parameters
                                                                                                                                                               8
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           For STI, executives would be provided a target STI
           opportunity stated as a percentage of salary (most common)
           or STI pool,
                  pool depending on the STI structure chosen
                                    STI Design Structures with Illustrative Amounts

          Target Approach – “Bottom‐Up”                                                        Pool Approach – “Top Down”
               Percentage of Salary                                                               Percentage of STI Pool
                       Individual Executives
              +                 +                +                                                      Financial Performance
                                                                                                        (Profit of $60 million)


                  Target STI Sum of all Executives                                                   Incentive Pool Equals 10%
                          ($4 million)                                                                   (Pool of $6 million)

              Multiplied by Performance Factor(1)
               of 1.5 (150% of target payout)                                        Corporate                  Division 1                Division 2
                                                                                    ($3 million)              ($2 million)              ($1 million)
                   Actual Bonuses Paid to all
                      Equal $6 million                                               Individuals               Individuals                Individuals


  For Example:                                                                     For Example:
  Executive A has Target STI = 50% of $200,000 Salary                              Executive A gets 5% of Corporate Pool
  Performance Factor = 1.5 (150% of target payout)                                 $3 million x 5% = $150,000 STI for Executive A
  50% x $200,000 x 1.5 = $150,000 STI for Executive A

(1) Performance factors are typically determined as a percentage of the target payout; for example if actual performance on a given performance measure is
    above the target performance goal, there is a corresponding payout expressed as a percentage of the target payout                                        9
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        LTI for Fibra Uno executives would consist of a combination
        of two or three LTI vehicles, with a significant proportion in
        more performance
              performance‐oriented
                            oriented vehicles
                                                       LTI Vehicles
   LTI Vehicle                                                       Characteristic
Stock Options        Recipient has the right to purchase shares in the future at today’s stock price, vesting is generally time‐
                      based (e.g., 3‐5 years)
Restricted Stock/    Grant of shares or units that vest over time (e.g., 3‐5 years), number of shares is fixed
Unit (RSUs)          Retention is major benefit
Performance          Grant of shares or units that vest at end of a performance period (e.g., 3 years) by achievement of specific
Stock/Share/          performance goals
Unit                 Grants typically made on annual basis
                     Ultimate
                      Ul i     value
                                  l received
                                          i db by the
                                                   h employee
                                                           l     depends
                                                                 d      d upon the
                                                                                h # off shares
                                                                                         h      x stockk price
                                                                                                           i at end
                                                                                                                  d off performance
                                                                                                                           f
                      period
Performance Cash     Similar to STI except performance is measured over a multi‐year period (e.g., 3 years)
Plan                 Grants typically made on annual basis
                     Not as common in publicly‐traded companies as performance equity

         REIT practice is generally restricted stock/restricted stock units (RSUs) combined with
          performance shares/units
          p                    /
         Options are less common among REITs given REITs’ high dividend yields, but there
          may be a place for them in high growth companies or turnaround situations
         Choice
          Ch i off vehicle
                     hi l may be
                              b influenced
                                 i fl    d by
                                           b Mexican
                                              M i    accounting
                                                           ti or ttax considerations
                                                                          id ti      (t
                                                                                     (to
          be determined)
                                                                                                                                      10
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           Final LTI vehicle choice for Fibra Uno will be affected by a
           number of factors

                                        Considerations for LTI Vehicle Selection
                           Perceived                            Shareholder          Selective
                                                  Pay                                                  Retention         Share      Cash
      Vehicle            Value Creation                             Value          Performance
                                                 Upside                                                Capability       Usage (1)   Usage
                           Prospects                             Alignment            Focus

      Options                 High(2)             High(2)           High                Low            Moderate              High   Low

Restricted Stock/
      Units                    Low(3)              Low               Low                Low               High         Moderate     Low(4)

  Performance
 Shares/Units(5)         Moderate/High            High(6)          High(7)              High           Moderate        Moderate     Low(4)

   Performance
    Cashh Plan
           l                Moderate           Moderate            High((7))            High           Moderate              Low    High

(1) Refers to gross share use; ISS and some institutional shareholders normalizes for economic value of options vs. shares
(2) Not as high for REITs as for other industries due to REITs’ high dividend yield
(3) Also often used in uncertain or volatile value creation environments
(4) Provided that settlement is in shares
(5) Settled in shares
(6) Provided that there is upside leverage on number of shares that can be earned (e.g., >= 150% of target)
(7) Provided that measures and goals link to value




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    For optimum STI and LTI performance measure selection,
    Fibra Uno could start by considering financial measures that
    b l
    balance growth
                 th and
                      d efficiency
                          ffi i    while
                                    hil ensuring
                                              i a focus
                                                    f    on key
                                                             k
    business imperatives
           Examples of Potential REIT Financial Performance Measures

          Growth‐Centered                                            Efficiency‐Centered




    Top Line          Profitability                            Profit                   Capital
    Growth              Growth                               Efficiency                Efficiency
 Operating
  O     i           FFO                                 Margins
                                                          M i                        ROE
  Revenue           FFO/Share                            – EBITDA                   ROA
 Market Share      Income                               – Net Operating
                     – EBITDA                               Income
                     – Net Operating                      – Net Income
                       Income
                     – Net Income
                    EPS
                                                                                                    12
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 In addition, Fibra Uno may opt for including strategic or
 operational measures that drive how that financial
 performance is achieved
                  achieved, and market
                                market‐based
                                        based measures that
 reflect shareholder value
                          Examples of Potential REIT
             Strategic, Operational and Market‐Based Measures

 Strategic/Operational Measures                           Market‐Based Measures

 Development activity                             Price/FFO
 Acquisition activity                             Enterprise Value/EBITDA
 Balance sheet management                         Total Shareholder Return (TSR)
 Liquidity management                             Relative vs. p
                                                                 peers or index
 Leverage                                         Absolute goal (TSR or stock price)
 Expense reductions
 Occupancy
  O
 Leasing activity




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The organizational level used to measure STI and LTI
performance would likely follow typical competitive practice
STI Performance Measurement Level                              STI – Corporate and Business Unit Level
                                                                        Illustrative Weightings
 Depends on company characteristics                                                           Measurement Level
                                                                 Executive
 Corporate
  C        t vs. business
                 b i      unit
                             it weighting
                                  i hti                      Organizational Level          Corporate       Business Unit
  - Higher business unit weighting with                     Corporate Executives             100%                0%
     high business unit autonomy                            Business Unit Head                 50%              50%

  - Higher corporate weighting with high                    Business Unit‐Others               33%              67%

     business unit interdependency
                                                            STI – Corporate, Business Unit, Individual Level
 Corporate/business unit level vs.                                                     g     g
                                                                        Illustrative Weightings
  individual level                                        Executive                            Measurement Level
                                                      Organizational Level
  - Meaningful individual component with                                           Corporate         Business Unit    Individual

     internally competitive environment              Corporate Executives            75%                  0%            25%
                                                     Business Unit Head             37.5%               37.5%           25%
  - Little or no individual component with
                                                     Business Unit‐Others            25%                 50%            25%
     a strong team approach
LTI Performance Measurement Level
                                                            LTI – Corporate, Business Unit, Individual Level
 Typically measured at the corporate level                             Illustrative Weightings
  for all executives                                      Executive                            Measurement Level
                                                      Organizational Level
 Unifying incentive, ties performance to                                          Corporate         Business Unit    Individual
                                                     All Executive Levels            100%                 0%               0%
  shareholder value creation
                                                                                                                                14
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Payout leverage (amount above or below target payout)
would be established based on competitive practice,
difficulty (or ease) of performance goals
                                    goals, and potential
volatility of performance outcomes
 Target incentive opportunities for each executive
  - A target STI expressed as a percentage of salary (more common) for a target
    approach design (“bottom‐up”) or as percentage of STI pool for a pool approach
    design (“top
            ( top down”)
                  down )
  - A target LTI grant expressed in unit of currency (e.g., Mexican pesos), to be divided
    into agreed upon proportions for each LTI vehicle as determined for the plan
 STI payout leverage for target approach design (“bottom‐up)
  - Maximum payouts for STI generally range from 150% to 200% of the target payout
  - Threshold payouts for STI generally range from 0% to 90% of the target payout
 STI payout leverage for pool approach design (“top down”)
  - Maximum pool funding generally ranges from 150% to 200% of the target funding
  - Threshold
    Th h ld pooll funding
                    f di generally ll ranges ffrom 0% to 90% off the
                                                                  h target ffunding
                                                                               di
 LTI payout leverage (for performance vehicle)
  - Maximum payouts for LTI generally range from 150% to 200% of the target payout
  - Threshold payouts for LTI generally range from 0% to 50% of the target payout
                                                                                            15
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    A goal setting approach (or combination of approaches)
                  p
    would be adopted   based on the followingg methods

                                     Goals‐Setting Methods
             Prospective Method                                Relative (Retrospective) Method
 Sets goals at the beginning of the                   Requires no goals to be set, and instead
  performance p
  p              period and evaluates                   measures p  performance after the fact in
  performance in relation to those goals                comparison to peers or industry performance
 Can be further broken down as follows:                for a given time period
  - Budget Approach, where goals are set per           Useful in an uncertain economy when goals
    the budget, thus changing from year to              are hard to set
    year                                               Problematic if there are not really good peer
  - Timeless Standards Approach, where goals            companies that are:
    are set as absolute standards that do not           - Sufficiently similar to the company
    change each year                                    - Similarly influenced by market conditions
  - Historical Approach, where goals are set           Peer group needs to be sufficiently large (e.g.,
    based on past performance of either the                       p
                                                        15+ companies)   ) to negate
                                                                                g    distortions in
    company or peer companies  i                        results from outlier company performance
     Assumes that past performance is a                and/or acquisitions of peers
        good indicator of appropriate future           Index may be viable alternative if there are
        performance                                     not enough peers


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An employee equity plan would need to be established
within the parameters of competitive practices
 Plan likely to expire ten years after establishment
 Number of shares available in plan likely to have total potential dilution equal to 5% of
  shares outstanding (or other percentage based on competitive practice)
 Plan shares, in practice, likely to last five to eight years (depends on incentive design,
  number of participants,
             participants annual share usage guidelines
                                                   guidelines, stock prices over time
                                                                                 time, etc
                                                                                       etc.))
   - Circumstances that use shares more quickly
        Strong company growth drives more executive hires who are plan participants
        Company performs well but stock price declines due to external market factors(1)
   - Circumstances that use shares more slowly
        Strong
         St     stock
                 t k price   th(2)
                       i growth
        Weak performance such that performance shares/units do not vest (shares go
           back to plan for new grants)
 Annual share usage guidelines (e.g., up to 1%) to be establish based on:
   - Typical REIT practices (e.g., annual run‐rate dilution)
   - Target annuall LTI/equity
                       /       compensation ffor executives
(1) A lower stock price requires more shares to deliver same target annual LTI value
(2) A higher stock price requires fewer shares to deliver same target annual LTI value          17
